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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,

        v.                                                 C.A. No. 17-1427-RGA

 PIONEER & ONKYO U.S.A.
 CORPORATION,

                        Defendant.


    STIPULATION TO STAY ALL DEADLINES AND NOTICE OF SETTLEMENT

       Plaintiff Display Technologies, LLC and Defendant Pioneer & Onkyo U.S.A. Corporation

file this Stipulation to Stay All Deadlines and Notice of Settlement.

       The parties have reached an agreement to settle the case between them and seek additional

time to finalize settlement. Subject to the Court’s approval, the parties to this action, by and

through their undersigned counsel, hereby stipulate and agree stay all deadlines of the case by sixty

days so that the settlement agreement may be finalized and dismissal papers submitted.


Dated: May 2, 2018

   /s/ Sara E. Bussiere                               /s/ Thatcher A. Rahmeier
 Stephen B. Brauerman (#4952)                      Thatcher A. Rahmeier (#5222)
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                                                   U.S.A. Corporation
 Attorneys for Plaintiff Display Technologies,
 LLC
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                            SO ORDERED this _____ day of _______________, 2018.


                            ____________________________________
                            United States District Judge




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